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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 Flava Works, Inc.,                         )
                                            )
                  Plaintiffs,               )
                                            )
              v.                            )
                                            )
 Marques Rondale Gunter                     )
 d/b/a myVidster.com, SalsaIndy, LLC, d/b/a )                 Case No. 1:17-cv-01171
 myVidster.com,                             )
                                            )
                  Defendants.


                 DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       Pursuant to Fed. R. Civ. P. 56, Defendants Marques Rondale Gunter and SalsaIndy, LLC

both d/b/a myVidster (“myVidster”), hereby move for summary judgment on Plaintiff’s one

remaining claim for breach of contract.

       After years of unsuccessful litigation, Plaintiff seems to have given up on the merits of its

case. Plaintiff failed to amend the claims that were dismissed from this proceeding and has taken

no meaningful action to advance its one remaining claim for breach of the parties’ 2015

Settlement Agreement. Rather, it has become clear that Plaintiff’s goal has simply been to do the

bare minimum necessary to maintain a lawsuit against myVidster – and to draw that suit out as

long as possible – to tax myVidster’s resources (and those of the Court) while spending as little

of Plaintiff’s own time and money as possible. Plaintiff has failed to participate substantively in

this case since May 2017, and refused to comply with its discovery obligations until compelled

by the Court. Even then, Plaintiff served no discovery requests, took no depositions and

produced only a small number of documents, many of which were irrelevant.

       Plaintiff’s failure to participate in the proceedings now brings consequences. As set forth
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in myVidster’s accompanying Memorandum, Plaintiff has not produced any evidence

whatsoever that would allow a reasonable juror to conclude that (a) myVidster breached the

Settlement Agreement, or (b) that Plaintiff suffered any injury. Plaintiff should not be rewarded

for its bad-faith conduct by being allowed to draw this case out any longer. Because Plaintiff

cannot show these essential elements of its claim, summary judgment should be entered in

myVidster’s favor before any more time or resources are wasted on a case that Plaintiff itself

seems to have little interest in litigating.

Dated: December 14, 2018                       Respectfully submitted,

                                               /s/_____Andrew S. Fraker__________
                                               One of the Attorneys for Defendants

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                             CERTIFICATE OF SERVICE

             I, Andrew S. Fraker, an attorney, state that I served a copy of the foregoing

Defendants’ Motion for Summary Judgement upon:


                   Adam S. Tracy
                   The Tracy Firm Ltd.
                   141 W. Jackson Blvd.
                   Chicago, Illinois 60604



by the ECF system on December 14, 2018.



                                                      /s/    Andrew S. Fraker
                                                             Andrew S. Fraker




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